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                              Exhibit 1
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  Return Date: No return (^ate scheduled                  12-Person Jury
  Hearing Date: 12/16/2019 10:00 AM -10:00 AM
  Cogrtroom Number: 2302                                                                                  6218776
                                                                                                   FILED
  Location: District 1 Court
                                                                                                   8/16/2019 3:26 PM
           Cook County, IL
                                   CIRCUIT COURT OF COOK COUNTY, ILLINOIS                          DOROTHY BROWN
                                                                                                   CIRCUIT CLERK
                                   COUNTY DEPARTMENT, CHANCERY DIVISION                            COOK COUNTY, IL
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                                                                                                   2019CH09511
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O             ZACHARY VERGARA, individually and on                   )
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              behalf of a class of similarly situated individuals,   )
5                                                                    )     No.   2019CH09511
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2                                            Plaintiff,              )
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                                       V.                            )
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S             NINTENDO OF AMERICA, INC., a                           )
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              Washington corporation.                                )
<                                     Defendant.                     )
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                                                CLASS ACTION COMPLAINT

                      1.      Plaintiff Zachary Vergara brings this Class Action Complaint and Demand for Jury

               Trial against Nintendo of America, Inc. (“Defendant” or “Nintendo”) on his own behalf, and on

               behalf of a class of individuals who purchased Defendant’s Nintendo Switch game system

               (“Switch”) and Joy-Con controllers (“Controllers”), to seek redress for Defendant’s sale of

               defective products. .

                      2.      Nintendo’s Switch Controllers contain a defect that causes the joystick to activate

               or drift on its own without the user actually manipulating the joystick (the “Joystick Defect”).

               Manual operation of the Controllers is part of the Switch’s, and other video game consoles’, core

               functionality. The Joystick Defect affects the video game play of the Switch and compromises the

               core functionality and overall usage of the Controllers and the Switch gaming console.

                      3.      On behalf of himself and the proposed class of individuals who purchased

               Defendant’s Switch and/or Controllers, Plaintiff seeks damages, restitution and injunctive relief

               against Defendant for selling products that are defective and for the misrepresentations and

               omissions of facts it made to consumers. Plaintiff, for his Class Action Complaint, alleges as
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      follows upon personal knowledge as to himself and his own acts and experiences, and as to all

      other matters, upon information and belief, including investigation conducted by his attorneys.
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                                       NATURE OF THE ACTION

5            4.      Defendant is a leading producer and manufacturer of video game consoles.
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      controllers, and games sold throughout the country.
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S            5.      The Nintendo Switch is one of Defendant’s products that was released in March
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<     2017. Defendant manufactures, markets, and sells the Switch and its Controllers.
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             6.      Defendant, who was in control of all operations regarding the Switch and its

      Controllers, was aware of the Joystick Defect through online consumer complaints, and through

      its own pre-release testing. Owners of Switch consoles have voiced their complaints to Nintendo

      dating as far back as 2017. However, despite its knowledge of the Joystick Defect, Defendant

      failed to, and continues to fail to, disclose the defect to consumers prior to them purchasing its

      Switch and Controllers, nor has Defendant taken any substantial action to remedy the problem.

             7.      The Joystick Defect is a material defect, hindering overall usage of the Controllers

      and the Switch console itself, which deprives consumers of their expected use of the products.

             8.      As a result of Defendant’s unfair, deceptive, and/or fraudulent business practices.

      consumers who purchased the Switch and/or its Controllers have suffered an ascertainable loss of

      money and property value. The Joystick Defect has caused Plaintiff and the proposed Class and

      Subclass to incur damages, including monies spent on purchase of the defective Switch products

      that they would not have otherwise bought and monetary costs associated with attempting to repair

      or replace the Switch game consoles’ Controllers.




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              9.      Plaintiff brings this action on behalf of himself and other similarly situated

       consumers in Illinois and elsewhere nationwide, to obtain redress for those who purchased
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o      Defendant’s Switch and/or Controllers.

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               10.    Plaintiff Zachary Vergara is a natural person and a citizen of Illinois.
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(D             11.    Defendant Nintendo of America, Inc. is a Washington corporation with its principal
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1^^<   place of business located in Redmond, WA. Defendant is registered to do business in Illinois and
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       produces video game consoles, controllers, and games that are sold in Illinois, and elsewhere

       throughout the nation. Defendant advertises and sells its products, including the Switch and its

       Controllers, to thousands of consumers in Illinois and elsewhere across the country.

                                        VENUE AND JURISDICTION

               12.    Venue is proper in Cook County under 735 ILCS 5/2-101, because Defendant

       conducts business in Cook County, Defendant is registered to and conducts business in Cook

       County, and because the transaction out of which this cause of action arises occurred in Cook

       County, as Plaintiff purchased the defective products at issue in Cook County. This Court may

       assert personal jurisdiction over Defendant pursuant to 735 ILCS 5/2-209 and in accordance with

       the Illinois Constitution and the Constitution of the United States, because Defendant transacts

       business within this state.

                                     COMMON FACTUAL ALLEGATIONS

               13.    Defendant is a producer and manufacturer of video game consoles, controllers, and

       games that are sold across Illinois, and elsewhere throughout the country.

               14.    Defendant’s Nintendo Switch video game console was released in March 3, 2017.

       The Switch is a hybrid console which means it can be used as both a stationary device that displays


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      the video game on a television screen, similar to traditional game consoles, or as a portable device

      with its own built-in screen for playing games anywhere.
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              15.    The Switch’s wireless Controllers (shown below) can operate as two separate

5     Controllers, a left and a right, or they can be connected with a either a screen or grip accessory to
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      function like a traditional controller similar to the controllers produced for Xbox and PlayStation
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S     console systems. The Controllers include standard buttons, directional analog joysticks (outlined
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<     below), motion sensing, and tactile feedback.                                            ,
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                     The Joystick Defect exists in the directional analog joysticks. Specifically, the

       analog stick will falsely; register user input, or “drift”, on its own without the user actually

       manipulating the joysticks. This results in the gameplay being affected as if the user had activated

       the directional analog joystick when they in fact have not.


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              17.    The Joystick Defect significantly interferes with the user’s gameplay and

      enjoyment of the Switch console since the entire purpose of the directional analog stick is to control
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      the action of the video game. The Controllers’ inability to accurately register the user’s input on

5     the directional analog joystick is a material defect which substantially devalues the entire Switch
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      product.

              18.    The Nintendo Switch consoles purchased by Plaintiff and by many other users have
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<     exhibited this problem with their Controllers. Indeed, internet complaints by consumers about the
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it    Joystick Defect date back to 2017 on forums that are monitored by Nintendo. The ensuing

      comments are a few examples of complaints submitted directly to Nintendo’s support forums

      dealing with the Joystick Defect:

              1) Matt Ryan (02/08/2018) Right Joy-Con analog stick drifting

              “This problem happen about a week ago where the right analog for the joycon would made
              my camera go down in a lot of game or keep braking in Mario Kart. I’m not sure if my
              controller needs updating or something or the controller has a hardware problem. I’ve also
              been taking care of it, haven’t dropped it or anything.. .”i

              2) Herrmann (04/09/2018) Problem with right joy-con analog stick

              “The analog stick on my right joycon will often move straight down on the Switch home
              menu or in game without any input, this is corrected when I just move it around a little but
              it happens enough to hinder me in games such as Splatoon 2. Any known solutions to this
              issue?”2

              3) GilanlOl (07/03/2018) Left Joy-Con Analog Stick keeps drifting

              “The analog stick on my left joy-con keeps drifting, usually to the left, but sometimes to
              the right...I’ve attempted to recalibrate the left analog stick, but I can’t, because it never
              thinks it’s in the neutral position, so it never moves past the first ‘release’ screen.”3


      1 https://en-americas-support.nintendo.com/app/social/questions/detail/qid/72443/kw/joy-
      con%20analog
      2 https://en-americas-support.nintendo.com/app/social/questions/detail/qid/73199/kw/joy-
      con%20analog
      3 https;//en-americas-support.nintendo.com/app/social/questions/detail/qid/74214/kw/joy-
      con%20analog
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§            4) Roland (08/24/2017) Left joy con
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             “My left joy con’s control stick is acting weird. It takes a while for the switch to register it
2            being pushed up or down, I rested it to factory settings yet it still does this. And this hinders
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(O           most in splatoon cuz it refuses to move backwards. And sometimes it regiters it going up
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             even tho im not touchin the control stick.”4
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S             19.    These complaints, and many other similar ones regarding the Joystick Defect, are

<     numerous can be found on many different forums throughout the internet.
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             20.     However, Nintendo, who monitors its own support forums and has been long aware

      of the Joystick Defect, has not taken any measures to fix the issue with the Switch’s Controllers.

      Additionally, Defendant refuses to disclose the problem to consumers prior to their purchase of

      the Switch and/or its Controllers.

             21.     As a result, owners of the Switch and the accompanying Controllers are forced to

      either send their Controllers to Defendant and pay for them to be repaired, purchase a self-repair

      kit and fix the problem themselves, or replace the Controllers altogether. Accordingly, owners of

      Defendant’s Switch console have suffered monetary losses as a result of the Joystick Defect.

             22.     The Nintendo Switch can be purchased for approximately $327.00, and which

      includes two of the Controllers. The Controllers can also be purchased separately for

      approximately $75.99 for the pair, or $49.99 individually.

              23.    Because of Defendant’s actions. Switch owners have suffered damages for loss of

      use of their Switch and Controllers, loss of property value, and loss of time and expense trying to

      fix the problem themselves or by contacting Defendant for support.




      4 https://en-americas-support.nintendo.eom/app/social/questions/detail/qid/70002/kw/joy-
      con%20drifting
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                                      FACTS SPECIFIC TO PLAINTIFF
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            24.     In November 2017, Plaintiff purchased a Nintendo Switch from a Best Buy store
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5    located in Chicago, Illinois which included the Switch video game console and the Controllers.
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            25.     Approximately 14 months after his purchase. Plaintiffs Swtich began experiencing

     the Joystick Defect, with the controller input drifting in the left Joy-Con Controller. The drifting
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<    interfered with Plaintiffs ability to play his Switch console and the controller eventually became
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     unusable for gameplay.

            26.     As a result of the Joystick Defect, the left Joy-Con Controller had to be replaced

     with a replacement controller from a third-party, which cost $19.99.

            27.     However, shortly after replacing the left Joy-Con Controller, the right Joy-Con

     Controller started to exhibit the same Joystick Defect that made the left Joy-Con Controller

     unusable.

            28.     Because the drifting was a persistent problem with Plaintiffs Controllers, Plaintiff

     had to have his Controllers disassembled and so that two replacement directional analog joysticks

     could be installed, which cost $14.99.

            29.     Plaintiff and the other members of the Class were led to believe, based on

     representations made through Defendant’s advertising and product packaging, that the Switch

     game consoles, and the included Controllers that they purchased were new, fully functional, and

     free from any defects that would interfere with their ability to use the Switch and its Controllers

     for its intended use as a video game console.

             30.    Plaintiff and the other members of the Class were deceived and/or misled by

     Defendant’s misrepresentations regarding the quality and functionality of the Switch and the


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      Controllers which they purchased. These misrepresentations, and omissions, were a material factor

      that influenced Plaintiffs and the other Class members’ decisions to purchase Defendant’s Switch
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      console and the Controllers that it came with.

             31.     At the time Plaintiffpurchased the Nintendo Switch, he was unaware of the Joystick
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      Defect, nor did Nintendo disclose this material defect despite its knowledge of the issue. Had
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s     Plaintiff known about the defect prior to his purchase, he would not have purchased the Switch
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<     counsel or would have paid substantially less for it.
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c:           32.     As a result. Plaintiff and the other members of the Class have been damaged by

      their purchases of Defendant’s Nintendo Switch and Controllers.

             33.     Defendant has received significant profits from the sale of its defective video game

      products.

                                     CLASS ACTION ALLEGATIONS

             34.     Plaintiff brings this action on behalf of himself and a nationwide class (the “Class”),

      with one subclass (the “Subclass”) defined as follows:

             (0      The Class: All persons in the United States who, within the applicable

                     statute of limitations, purchased Defendant’s Nintendo Switch or

                     Controllers in the United States.

             (ii)    The Subclass: All persons in the United States who, within the applicable

                     statute of limitations, purchased Defendant’s Nintendo Switch or

                     Controllers in Illinois.

             35.     Plaintiff will fairly and adequately represent and protect the interests of the other

      members of the Class and Subclass. Plaintiff has retained counsel with substantial experience in

      prosecuting complex litigation and class actions. Plaintiff and his counsel are committed to


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      vigorously prosecuting this action on behalf of the other members of the Class and Subclass and

      have the financial resources to do so. Neither Plaintiff nor his counsel have any interest adverse to
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      those of the other members of the Class and Subclass.
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5            36.     Absent a class action, most members of the Class and Subclass would find the cost
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      of litigating their claims to be prohibitive and would have no effective remedy. The class treatment
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§     of common questions of law and fact is superior to multiple individual actions or piecemeal
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<     litigation in that it conserves the resources of the courts and the litigants and promotes consistency
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3d    and efficiency of adjudication.
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             37.     Defendant has acted and failed to act on grounds generally applicable to the

      Plaintiff and the other members of the Class and Subclass, requiring the Court’s imposition of

      uniform relief to ensure compatible standards of conduct toward the members of the Class and

      Subclass, and making injunctive or corresponding declaratory relief appropriate for the Class and

      Subclass as a whole.

             38.     The factual and legal bases of Defendant’s liability to Plaintiff and to the other

      members of the Class and Subclass are the same, resulting in injury to the Plaintiff and to all of

      the other members of the Class and Subclass. Plaintiff and the other members of the Class and

      Subclass have all suffered harm and damages as a result of Defendant’s unlawful and wrongful

      conduct.

              39.    Upon information and belief, there are thousands, if not millions, of members of

      the Class and Subclass such that joinder of all members is impracticable.

             40.     There are many questions of law and fact common to the claims of Plaintiff and the

      other members of the Class and Subclass, and those questions predominate over any questions that




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      may affect individual members of the Class and Subclass. Common questions for the Class and

      Subclass include, but are not limited to, the following:
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o>           (a)      Whether Defendant engaged in the unlawful conduct alleged herein;

5            (b)      Whether Defendant’s Joy-Con Controllers are defective;
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             (c)      Whether Defendant knew of the Joystick Defect when marketing the Switch and its
o                     Controllers to consumers;
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             (d)      Whether Defendant knowingly failed to disclose the Joystick Defect and the cause
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<                     of the defect;
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c            (e)      Whether Defendant’s conduct violated the Illinois Consumer Fraud Act and other
                      such similar statutes;

              (f)     Whether as a result of Defendant’s nondisclosure of material facts, and loss of
                      functionality of its Controllers, Plaintiff and the other members of the Class and
                      Subclass have suffered ascertainable monetary losses;

              (g)     Whether Plaintiff and the other members of the Class and Subclass are entitled to
                      monetary, restitutionary or other remedies, and, if so, the nature of such remedies;
                      and

              (h)     Whether Defendant should be enjoined from continuing to engage in such conduct.

                                                 COUNT I
                               For Violations of Consumer Protection Laws
                                 (on behalf of the Class and the Subclass)

              41.     Plaintiff hereby incorporates the above allegations by reference as though fully set

      forth herein.

              42.     The Illinois Consumer Fraud and Deceptive Business Practices Act, 815 ILCS

      505/1 et seq. (“ICFA”), as well as other materially identical consumer fraud statutes enacted by

      states throughout the country, prohibit deceptive acts, suppression or omission of any material fact.

      and unlawful practices in the sale of products such as Defendant’s Switch and its Controllers.

              43.     Plaintiff and the other members of the Class and Subclass are “consumers” or

      “persons,” as defined under the ICFA and other states’ consumer protection laws.

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             44.        Defendant’s conduct as alleged herein occurred in the course of trade or commerce.

             45.        Defendant represented through its advertising and product packaging that the
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      Switch game console, and the included Controllers, were fully functional and free from any defects

      that would interfere with the user’s ability to use the Switch and its Controllers as a video game
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      console.
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§             46.       Defendant’s actions of misrepresenting that its Switch and Controllers were of high
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<     quality and functionality and omitting that they in fact contained the Joystick Defect, has caused
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      and continues to cause substantial injury to consumers, and constitutes an unfair and deceptive

      trade practice.

              47.       Upon information and belief, and given the fact that Defendant produces,

      manufactures, and markets all of its video game products. Defendant knew or should have known

      at all relevant times that its Controllers contained the Joystick Defect, and were not of high quality

      and functionality as represented and advertised by Defendant. However, Defendant nonetheless

      continued to advertise and sell its Controllers using such misrepresentations and omitted material

      facts about the defect to consumers.

              48.       Defendant intended for consumers to rely on its misrepresentations and omissions

      of material facts regarding the Controllers when choosing to purchase its products. Video game

      controllers are a core element of Defendant’s, and other competitors’ such as X-box and

      PlayStation, products, and are specifically marketed and sold based on representations about their

      quality and functionality. Consumers rely on such representations to make an informed decision

      as to whether they should purchase a product from Nintendo or one of its competitors.

              49.       Plaintiff and the other members of the Class and Subclass did reasonably rely on

      Defendant’s misrepresentations and omissions of material fact in choosing to purchase


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      Defendant’s Switch and Controllers, and would not have purchased Defendant’s products, or

      would have paid materially less for them, had Defendant not misrepresented the product or
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      disclosed its Joystick Defect.
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5            50.     As a direct and proximate cause of Defendant’s deceptive and unfair trade practices.
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      Plaintiff and the other members of the Class and Subclass suffered actual damages, including
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£     monetary losses for the purchase price of, as well as funds spent to fix or replace, the Switch and
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K     accompanying Controllers.
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             51.     Defendant’s conduct is in violation of the ICFA and other states’ consumer

      protection laws, and pursuant to 815 ILCS 505/1 Oa and other such states’ consumer protection

      laws. Plaintiff and the other members of the Class and Subclass are entitled to damages in an

      amount to be proven at trial, reasonable attorney’s fees, injunctive relief prohibiting Defendant’s

      unfair and deceptive practices going forward, and any other penalties or awards that may be

      appropriate under applicable law.

                                          PRAYER FOR RELIEF

             WHEREFORE, Plaintiff, on behalf of himself and the Class and Subclass, prays for the

      following relief:

                      1.     An order certifying the Class and Subclass as defined above;

                     2.      An award of actual or compensatory damages;

                     3.      Injunctive relief prohibiting Defendant’s unfair and deceptive advertising
                             practices;

                     4.      An award of reasonable attorney’s fees and costs; and

                     5.      Such further and other relief the Court deems reasonable and just.




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                                                 COUNT II
                                      Breach of Express Warranty
                                 (on behalf of the Class and the Subclass)
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             52.     Plaintiff hereby incorporates the above allegations by reference as though fully set
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s    forth herein.
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CO           53.     Defendant, as the marketer, distributor, and manufacturer of the Switch and
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     Controller products purchased by Plaintiff and the other members of the Class and Subclass, is a
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<    “merchant” as defined under the Uniform Commercial Code (“UCC”). The Switch and
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     accompanying Controllers are “goods” as defined under the UCC.

             54.     Defendant expressly warranted to Plaintiff and the other members of the Class and

     Subclass that its Switch and Controllers were of high quality and functionality, or at minimum that

     the products would actually work for their intended purpose as a video game system with

     controllers that accurately registered user input.

             55.     These affirmations of fact and promises regarding the quality and functionality of

     Defendant’s products were part of the basis of the bargain between Defendant and Plaintiff and

     the other members of the Class and Subclass. Plaintiff and the other members of the Class and

     Subclass would not have purchased Defendant’s products, or would have paid materially less for

     them, had they known that these affirmations and promises were false.

             56.     Defendant breached the express warranties it represented about the quality and

     functionality of its Switch and Controller products because, as set forth above, the Switch and

     Controller products purchased by Plaintiff and the other members of the Class and Subclass were

     not of the same quality and did not function as warranted by Defendant as they did not accurately

     register user input due to the Joystick Defect.




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              57.     As a direct and proximate result of Defendant’s breach of its express warranties,

      Plaintiff and the other Class and Subclass members suffered damages by purchasing Defendant’s
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      Switch and Controller products which they would not have otherwise purchased, or would have

5     paid materially less for, had they known that the products were not of the quality and functionality
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      as warranted, as well as monetary damages for any funds spent to fix or replace, the Switch and
I     accompanying Controllers.
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<                                         PRAYER FOR RELIEF
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              WHEREFORE, Plaintiff, on behalf of himself and the Class and Subclass, prays for the

      following relief:

                      1.     An order certifying the Class and Subclass as defined above;

                      2.     An award of actual or compensatory damages; and

                      3.     Such further and other relief the Court deems reasonable and just.

                                                  COUNT III
                                         Breach of Implied Warranty
                                   (on behalf of the Class and the Subclass)

              58.     Plaintiff hereby incorporates the above allegations by reference as though fully set

      forth herein.

              59.     Defendant, as the marketer, distributor, and manufacturer of the Switch and

      Controller products purchased by Plaintiff and the other members of the Class and Subclass, is a

      “merchant” as defined under the Uniform Commercial Code (“UCC”).

              60.     The Switch and Controllers are “goods” as defined under the UCC.

              61.     The implied warranty of merchantability is codified in Section 2-314 of the

      Uniform Commercial Code (“UCC”) and requires that goods are fit for the ordinary purposes for

      which such goods are used.


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             62.     Most states’ laws provide for enforcement of the implied warranty of

      merchantability through their adoption of the UCC, including in Illinois pursuant to 810ILCS 5/2-
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      314, as well as other states where Defendant’s Switch and Controller products are sold.

5             63.    Plaintiff and the other Class and Subclass members purchased Defendant’s Switch
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      and Controllers in a consumer transaction.

              64.    Defendant’s Switch and Controllers were not fit for the ordinary purpose for which
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<     such goods are used because the Joystick Defect rendered the Controllers and accompanying
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      Switch counsel inoperable as the Controllers would not accurately record user input.

              65.    As a result of Defendant’s breach of warranty, Plaintiff and the other Class and

      Subclass members suffered damages by purchasing Defendant’s Switch and Controller products

      which they would have not purchased, or would have paid materially less for, had they known that

      the products were not as warranted, as well as monetary damages for any funds spent to fix or

      replace the Switch and accompanying Controllers.

                                         PRAYER FOR RELIEF

              WHEREFORE, Plaintiff, on behalf of himself and the Class and Subclass, prays for the

      following relief:

                      1.    An order certifying the Class and Subclass as defined above;

                     2.     An award of actual or compensatory damages; and

                     3.     Such further and other relief the Court deems reasonable and just.




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                                                COUNT IV
                                            Unjust Enrichment
                    (in the alternative to the Second and Third Cause of Action and
§                                on behalf of the Class and the Subclass)
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            66.     Plaintiff hereby incorporates the allegations set forth in Paragraphs 1-40 above.
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CO          67.     Plaintiff and the other members of the Class and Subclass conferred a benefit on
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     Defendant by purchasing its Switch and Controllers.

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            68.     It is inequitable and unjust for Defendant to retain the revenues obtained from
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Q    Plaintiffs and the other Class and Subclass members’ purchases of Defendant’s Switch and
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     Controllers because Defendant knowingly misrepresented and omitted material facts regarding the

     qualities and functionality of its products and Plaintiff and the other members of the Class would

     not have purchased the products that they bought, or would have paid materially less for them, had

     Defendant not made these misrepresentations or omissions.

            69.     Accordingly, because Defendant will be unjustly enriched if it is allowed to retain

     such funds. Defendant must pay restitution to Plaintiff and the other Class and Subclass members

     in the amount which Defendant was unjustly enriched by each of their purchases of its products.

                                        PRAYER FOR RELIEF

            WHEREFORE, Plaintiff, on behalf of himself and the Class and Subclass, prays for the

     following relief:

                     1.    An order certifying the Class and Subclass as defined above;

                    2.     Disgorgement of all funds unjustly retained by Defendant as a result of its
                           unfair and deceptive sales practices; and

                    3.     Such further and other relief the Court deems reasonable and just.




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       ♦




                                     DEMAND FOR JURY TRIAL

             Plaintiff, on behalf of himself and the Class and Subclass, hereby demands a trial by jury
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     on all claims so triable.

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CO   Dated: August 16, 2019                       Respectfully submitted.
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$                                                 By: /s/ Eugene Y. Turin
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Q                                                 Eugene Y. Turin
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HI                                                MCGUIRE LAW, P.C. (firm ID 56618)
C                                                 55 W. Wacker Drive, 9th FI,
                                                  Chicago, IL 60601
                                                  Tel: (312) 893-7002
                                                  Fax: (312)275-7895
                                                  eturin@mcgpc.com
                                                  Counsel for Plaintiff and the Putative Class




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                              Exhibit 2
                     Case: 1:19-cv-06374 Document #: 1-2 Filed: 09/25/19 Page 20 of 45 PageID #:32
  Return Date: No rfsturn date scheduled
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  Court
  Locati3l?20 - Not Served           2221 - Not Served                                                         FILED
                                                                                                               8/16/2019 4:17 PM
        2320 - Served By Mail        2321 - Served By Mail                                                     DOROTHY BROWN
        2420 - Served By Publication 2421 - Served By Publication                                              CIRCUIT CLERK
        Summons - Alias Summons                                                            (06/28/18) CCG 0001 COOK COUNTY, IL
                                                                                                               2019CH09511
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        ZACHARY VERGARA
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                                                      (Name all parties)       Case No.      2019-CH-09511
                                         V.
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        c/o CT CoipoialiDn System
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<       208 S. T aSalle. St, Suite 814             0 SUMMONS             □ ALIAS SUMMONS
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Q       Chicago IL 60604
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u.      To each Defendant:
        YOU ARE SUMMONED and required to file an answer to the complaint in this case, a copy of which is hereto attached, or otherwise
        file your appearance and pay the required fee within thirty (30) days after service of this Summons, not counting the day of service.
        To file your answer or appearance you need access to the internet. Please visit wwwcookcountvclerkofcourt.ora to initiate this process.
        Kiosks with internet access are available at all Clerk’s Office locations. Please refer to the last page of this document for location
        information.
        If you fail to do so, a judgment by default may be entered against you for the relief requested in the complaint.
        To the Officer:
        This Summons must be returned by the officer or other person to whom it was given for service, with endorsement of service and fees,
        if any, immediately after service. If service cannot be made, this Summons shall be returned so endorsed. This Summons may not be
        served later than thirty (30) days after its date.

        E-filing is now mandatory for documents in civil cases with limited exemptions. To e-file, you must first create an account
        with an e-filing service provider. Visit https://efile.iUinoiscourts.gov/service-providers.htm to learn more and to select a
        service prrcirider. If you need additional help or have trouble e-fihng, visit http://w'vi'w.illinoiocourto.gov/FAQ/gcthelp.asp.

                                                                                Witness:
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        Atty. No.: 56618                                                                   DOROTHY BROVCN, Clerk of Court

        Atty Name: MCGUIRE LAW, P.C.
                                                                                Date of Service:
        Atty. for: Zachary Vergara                                              (To be inserted by of^ficer o'n 'f             ^raDefendant
                                                                                                                                *
        Address: 55 W. WACKER DR., 9th FI.                                      or other person):                D               in



        City: CHICAGO                                        State:
        Zip: 60601
        Telephone: (312) 893-7002
        Primary Email: eturin@mcgpc.com
        Secondary Email:
        Tertiary Email: ________________________________
               Dorothy Brown, Clerk of the Circuit Court of Cook County, Illinois                        cookcountycletkofcourt.org
                                                                         Page 1 of 2
                Case: 1:19-cv-06374 Document #: 1-2 Filed: 09/25/19 Page 21 of 45 PageID #:33




                  CLERK OF THE CIRCUIT COURT OF COOK COUNTY OFFICE LOCATIONS


      (.)   Richard J Daley Center                            O       Domestic Relations Division
IT)
            50 W Washington                                           Richard J Daley Center
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I           Chicago, IL 60602                                         50 W Washington, Rm 802
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§     (District 2 - Skokie
                                                                      Hours: 8:30 am - 4:30 pm
2      5600 Old Orchard Rd
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1^     Skokie, IL 60077                                       o       Civil Appeals
a>                                                                    Richard J Daley Center
      O     District 3 - Rolling Meadows
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<     G     District 4 - Maywood
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Q           1500 Maybrook Ave                                 O       Criminal Department
Ul                                                                    Richard J Daley Center
Li.         Maywood, IL 60153
                                                                      50 W Washington, Rm 1006
      o     District 5 - Bridgeview                                   Chicago, IL 60602
            10220 S 76th Ave                                          Hours: 8:30 am - 4:30 pm
            Bridgeview, IL 60455
                                                              o       County Division
      O     District 6 - Markham                                      Richard J Daley Center
            16501 S Kedzie Pkwy                                       50 W Washington, Rm 1202
            Markham, IL 60428                                         Chicago, IL 60602
      O     Domestic Violence Court                                   Hours: 8:30 am - 4:30 pm
            555 W Harrison                                    CD      Probate Division
            Chicago, IL 60607                                         Richard] Daley Center
      O     Juvenile Center Building                                  50 W Washington, Rm 1202
            2245 W Ogden Ave, Rm 13                                   Chicago, IL 60602
            Chicago, IL 60602                                         Hours: 8:30 am - 4:30 pm
      C’    Criminal Court Building                           O       Law Division
            2650 S California Ave, Rm 526                             Richard J Daley Center
            Chicago, IL 60608                                         50 W Washington, Rm 801
                                                                      Chicago, IL 60602
      Daley Center Divisions/Departments                              Hours: 8:30 am - 4:30 pm
      o     Civil Division                                     o      Traffic Division
            Richard J Daley Center                                    Richard J Daley Center
            50 W Washington, Rm 601                                   50 W Washington, Lower Level
            Chicago, IL 60602                                         Chicago, IL 60602
            Hours: 8:30 am - 4:30 pm                                  Hours: 8:30 am - 4:30 pm

      (•)   Chancery Division
            Richard J Daley Center
            50 W Washington, Rm 802
            Chicago, IL 60602
            Hours: 8:30 am - 4:30 pm


            Dorothy Brown, Clerk of the Circuit Court of Cook County, Illinois       cookcountycletkofcourt.org
                                                        Page 2 of 2
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                              Exhibit 3
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                Case: 1:19-cv-06374 Document #: 1-2 Filed: 09/25/19 Page 23 of 45 PageID #:35
  Return Date: No return date scheduled
  Hearing Date; 12/16/2019 10:00 AM -10:00 AM
  Courtroom Number:
  Location:                                                                                         FILED
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                                   CIRCUIT COURT OF COOK COUNTY, ILLINOIS                           DOROTHY BROWN
                                                                                                    CIRCUIT CLERK
                                   COUNTY DEPARTMENT, CHANCERY DIVISION                             COOK COUNTY, IL
                                                                                                    2019CH09511
O                 ZACHARY VERGARA, individually and on                   )
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                  Behalf of a class of similarly situated individuals,   )                       6220297
                                                                         )      No. 2019-CH-09511
                                                 Plaintiff,              )
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£                 NINTENDO OF AMERICA, INC., a                           )      Hon. Caroline Kate Moreland
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                  Washington corporation.                                )
<                                         Defendant.                     )
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                           PLAINTIFF’S MOTION FOR CLASS CERTIFICATION OR,
                         ALTERNATIVELY, FOR A DEFERRED CLASS CERTIFICATION
                                     RULING PENDING DISCOVERY

                         Plaintiff, Zachary Vergara, by and through his undersigned counsel, and pursuant

                  to 735 ILCS 5/2-801, moves for entry of an order certifying the Class and Subclass

                  proposed below, appointing Plaintiff as Class Representative, and appointing Plaintiffs

                  attorneys as Class Counsel. Alternatively, Plaintiff requests, to the extent the Court

                  determines further evidence is necessary to prove any element of 735 ILCS 5/2-801, that

                  the Court defer consideration of this Motion pending a reasonable period to complete

                  discovery. See, e.g., BallardRNCenter, Inc. v. Kohll’sPharmacy & Homecare, /«c., 2015

                  IL 118644, at    42-43 (citing Damasco v. Clearwire Corp., 662 F.3d 891 (7th Cir. 2011)).

                  In support of his Motion, Plaintiff submits the following Memorandum of Law.


                  Dated; August 16, 2019                         Respectfully submitted.

                                                                 ZACHARY VERGARA, individually and
                                                                 on behalf of a class of similarly situated
                                                                 individuals
                                                                 By: Is/ Eugene Y. Turin__________

                                                                         One of Plaintiff s Attorneys



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           Eugene Y. Turin
           William P.N. Kingston
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           Attorneys for Plaintiff and the Class
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                MEMORANDUM OF LAW IN SUPPORT OF PLAINTIFF’S
           MOTION FOR CLASS CERTIFICATION OR, ALTERNATIVELY, FOR
          A DEFERRED CLASS CERTIFICATION RULING PENDING DISCOVERY
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              This Court should certify a nationwide class and an Illinois subclass of consumers
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       who purchased Defendant, Nintendo of America, Inc.’s (“Defendant” or “Nintendo”)
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       Switch products at retail stores located in Illinois and elsewhere throughout the United
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S      States. Defendant, a producer of a variety of video gaming products, violated Illinois’, and
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<      other states’, consumer protection laws, and breached various warranties, when it sold its
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       Nintendo Switch video gaming console which contained a defect in the console’s

       controllers. After purchasing one of Defendant’s defective Switch consoles. Plaintiff

       brought suit on behalf of a nationwide class, and an Illinois subclass, alleging violations of

       the Illinois Consumer Fraud and Deceptive Business Practices Act, 815 ILCS 502/1 etseq.

       (“ICFA”), as well as breach of express warranty, breach of implied warranty, and unjust

       enrichment.

                                               THEICFA

              The ICFA, much like consumer protection laws enacted by other states across the

       country, “is a regulatory and remedial statute intended to protect consumers, borrowers.

       and business persons against fraud, unfair methods of competition, and other unfair and

       deceptive business practices.” Robinson v. Toyota Motor Credit Corp., 201 Ill. 2d 403,

       416-17 (2002). Under Section 2 of the ICFA, “[ujnfair methods of competition and unfair

       or deceptive acts or practices ... in the conduct of any trade or commerce are [] declared

       unlawful whether any person has in fact been misled, deceived or damaged thereby.” 815

       ILCS 505/2. Because the ICFA is a remedial statute, courts construe it liberally to

       effectuate its purpose. Cripe v. Letter, 184 Ill. 2d 185, 191 (1998).




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                 As with other states’ consumer protection laws, section 1 Oa of the ICFA provides

       for a private cause of action against parties who commit unfair acts in violation of the
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       ICFA. Saunders v. Michigan Ave. Nat, Bank, 278 Ill. App. 3d 307, 313 (1st Dist. 1996).

5      Subsection (a) of Section 10a states that “[a]ny person who suffers actual damage as a
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       result of a violation of this Act committed by any other person may bring an action against
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S      such person.” 815 ILCS 505/10a(a). In determining whether an act is unfair, courts will
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<      consider the following factors: “(1) whether the practice offends public policy; (2) whether
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       it is immoral, unethical, oppressive, or unscrupulous; (3) whether it causes substantial

       injury to consumers.” Robinson, 201 111. 2d at 417-18. Where the defendant has acted

       unfairly, the court may award actual economic damages, injunctive relief, and “reasonable

       attorney’s fees and costs to the prevailing party.” 815 ILCS 505/10a(c).

                                                THE FACTS

       Nintendo’s Products and The Underlying Misconduct

                 Defendant is a manufacturer of various video gaming products that are sold in stores

       in Illinois and elsewhere across the country. Defendant started its video game console

       business with the original Nintendo, went on to create the Super Nintendo, the Nintendo

       64, and the Nintendo Wii, and has finally come to its latest concept, the Nintendo Switch.

       Since being unveiled, the S witch has become one of the most popular consoles across the

       nation.      However, this latest product from Defendant has an issue or defect with its

       joystick functionality. This defect causes the joystick to activate or drift on its own without

       the user actually manipulating the joystick (the “Joystick Defect”). Manual operation of

       the Controllers is part of the Switch’s, and other video game consoles’, core functionality.

       Here, the Joystick Defect affects the video game play of the Switch and compromises the




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       core functionality and overall usage of the Controllers and the Switch gaming console. The

       Joystick Defect is a material defect, hindering the overall usage of the Controllers and the
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       Switch console itself, which deprives consumers of their expected use of the product.

               Plaintiff and the other members of the Class and Subclass were deceived and/or
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       misled by Defendant’s representations regarding the functionality of the Nintendo products

       which they purchased. These representations were a material factor that Plaintiff and the
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       other Class and Subclass members relied on when making their decision to purchase
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       Defendant’s Nintendo Switch products. Defendant was aware that consumers specifically

       purchase Nintendo’s Switch to be able to play video games and knew that the defect

       severely hindered any ability to actually play a game and get enjoyment from the Switch

       console. Additionally, Defendant intended for Plaintiff and the other members of the Class

       and Subclass to rely on its false and misleading representations that its Switch video game

       console would function as intended. Plaintiff and the other members of the Class and

       Subclass incurred damages as a result of Defendant’s misconduct.                 Accordingly,

       Defendant’s conduct is in violation of the ICFA and other common laws, including breach

       of the express and implied warranties regarding its Nintendo Switch products and their

       qualities.

        The Proposed Class and Subclass

               Plaintiff brings this action on behalf of himself and a nationwide class (the “Class”),

       with one subclass (the “Subclass”) defined as follows:

               1.     The Class: All persons in the United States who, within the applicable

                      statute of limitations, purchased Defendant’s Nintendo Switch or

                      Controllers in the United States.




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             2.      The Subclass: All persons in the United States who, within the applicable

                     statute of limitations, purchased Defendant’s Nintendo Switch or
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                     Controllers in Illinois.

             As explained below, the proposed Class and Subclass satisfy each of the four
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      requirements for certification under Section 2-801 of the Illinois Code of Civil Procedure—

      numerosity, commonality, adequacy of representation, and fair and efficient adjudication.
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<     A class action is not just appropriate here, it is also the only way that the members of the
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      putative Class and Subclass can obtain appropriate redress for Defendant’s unlawful

      conduct.

                                                ARGUMENT

      I.     Standards for Class Certification

             To obtain class certification, it is not necessary for a plaintiff to establish that he

      will prevail on the merits of the action. Eisen v. Carlisle & Jacquelin, 417 U.S. 156, 178

      (1974) (“[T]he question is not whether the plaintiff or plaintiffs have stated a cause of

      action or will prevail on the merits, but rather whether the requirements of Rule 23 are

      met.” (internal quotation marks and citation omitted)). As such, in determining whether

      to certify a proposed class, the Court should accept the allegations of the complaint as true.

      Ramirez v. Midway Moving & Storage, Inc., 378 Ill. App. 3d 51, 53 (1st Dist. 2007).

             To proceed with a class action, the movant must satisfy the “prerequisites for the

      maintenance of a class action” set forth in Section 2-801 of the Illinois Code of Civil

      Procedure, which provides:

             An action may be maintained as a class action in any court of this State and
             a party may sue or be sued as a representative party of the class only if the
             court finds:




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              (1)     The class is so numerous that joinder of all members is
                      impracticable.
              (2)     There are questions of fact or law common to the class,
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o                     which common questions predominate over any questions
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                      affecting only individual members.
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CNJ           (3)     The representative parties will fairly and adequately protect
                      the interest of the class.
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              (4)     The class action is an appropriate method for the fair and
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                      efficient adjudication of the controversy.
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       735 ILCS 5/2-801. As demonstrated below, each prerequisite is established for the Class
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<      and Subclass, and the Court should therefore certify the proposed Class and Subclass.
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               Section 2-801 is modeled after Rule 23 of the Federal Rules of Civil Procedure and

       “federal decisions interpreting Rule 23 are persuasive authority with regard to questions of

       class certification in Illinois.” Ave/y v. State Farm Mut. Auto. Ins. Co., 216 Ill. 2d 100,125

       (2005). Circuit courts have broad discretion in determining whether a proposed class meets

       the requirement' for class certification and ought to err in favor of maintaining class

       certification. Ramirez, 378 Ill. App. 3d at 53. While a court may rule on class certification

       without requiring further discovery, see Manual for Complex Litigation (Fourth) § 21.14,

       at 255 (2004), courts have found that discovery is helpful prior to addressing a motion for

       class certification. See, e.g., Ballard RN Center, Inc. v. Kohll’s Pharmacy & Homecare,

       Inc., 2015 IL 118644, at 42 (“If the parties have yet to fully develop the facts needed for

       certification, then they can also ask the district court to delay its ruling to provide time for

       additional discovery or investigation”) (quoting Damasco v. Clearwire Corp., 662 F.3d

       891,896 (7th Cir. 2011)).

              All the prerequisites for class certification are satisfied here, even though Plaintiff

       has not yet had an opportunity to engage in and complete discovery. However, in the

       interest of establishing a more fully developed record before ruling on class certification




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       issues, the Court should defer ruling on this Motion pending the completion of discovery

       and submission of supplemental briefing.
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              A.      The Requirement of Numerosity Is Satisfied.

              The first step in certifying a class is a showing that “the class is so numerous that
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       joinder of all members is impracticable.” 735 ILCS 5/2-801(1). This requirement is met
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       when “join[ing] such a large number of plaintiffs in a single suit would render the suit
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<      unmanageable and, in contrast, multiple separate claims would be an imposition on the
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       litigants and the courts.” Gordon v. Boden, 586 N.E.2d 461,464 (Ill. App. Ct. 1991) (citing

       Steinberg v. Chicago Med. Sch., 371 N.E.2d 634, 642-43 (Ill. 1977)). To satisfy this

       requirement a plaintiff need not demonstrate the exact number of class members but must

       offer a good faith estimate as to the size of the class. Smith v. Nike Retail Servs., Inc., 234

       F.R.D. 648, 659 (N.D. Ill. 2006).

              Plaintiff alleges that there are thousands, if not millions, of members of the Class

       and Subclass. (Compl., f 39.) Because definitive evidence of numerosity can only come

       from the records of Defendant and its agents, it is proper to rely upon the allegations of the

       Complaint in certifying the Class and Subclass. See 2 A. Conte & H. Newberg, Newberg

       on Class Actions § 7.20, at 66 (stating that where numerosity information is in the sole

       possession of the party opposing the class, courts generally rely on the complaint as prima

       facie evidence or defer ruling). In this case, the allegations of the Complaint, in addition

       to common sense based on Defendant’s sales volume and market presence, adequately

       demonstrate numerosity. See Hinman v. M& MRental Center, Inc., 545 F. Supp. 2d 802,

       806   (N.D.    Ill.   2008)   (the   court   “may     make common sense assumptions          in

       determining numerosity”).




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              Defendant’s products are sold in large quantities through national chain-stores such

      as GameStop, Walmart, and Target that have numerous locations throughout Illinois and
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      across the country, as well as through online retailers such as Amazon. Given the size of

      Defendant’s product distribution, the number of members of the Class and Subclass is
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      almost certainly in the thousands or millions—an amount that more than satisfies the
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      numerosity requirement. See Kulins v. Malco, A Microdot Co., Inc., 459 N.E.2d 1038,

<      1046 (Ill. App. Ct. 1984) (finding that, in Cook County, 30 class members is sufficient to
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      satisfy numerosity); Carrao v. Health Care Serv. Corp., 454 N.E.2d 781, 789 (Ill. App. Ct.

       1983) (allegation in the complaint of over 1,000 class members clearly supports finding

      that joinder would be impracticable).

              Additionally, the members of the putative Class and Subclass can be easily and

      objectively identified from sales records and/or by allowing class members to submit

      proofs of purchase. Furthermore, it would be completely impracticable to join the claims

      of the members of the Class and Subclass because they are disbursed throughout Illinois,

      and elsewhere throughout the nation, and because absent a class action, few members could

      afford to bring an individual lawsuit over the amounts at issue in this case, since each

      individual member’s claim is relatively small.          See Gordon, 586 N.E.2d at 464.

      Accordingly, the first prerequisite for class certification is met.

              B.      Common Questions of Law and Fact Predominate.

              The second requirement of Section 2-801(2) is met where there are “questions of

      fact or law common to the class” and those questions “predominate over any questions

      affecting only individual members.” 735 ILCS 5/2-801(2). Such common questions of

      law or fact exist when the members of the proposed class have been aggrieved by the same




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       or similar misconduct. See Miner v. Gillette Co., 428 N.E.2d 478, 483 (Ill. 1981);

       Steinberg, 371 N.E.2d at 644-45. These common questions must also predominate over
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       any issues affecting individual class members. See 0-Kay Shoes, Inc. v. Rosewell, 472
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5      N.E.2d 883, 885-86 (Ill. App. Ct. 1984).
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              While common issues must predominate, they “need not be exclusive.” Maxwell
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       V. Arrow Fin. Servs., LLC, No. 03-cv-1995, 2004 WL 719278, at *5 (N.D. Ill. Mar. 31,
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<      2004); Pleasant v. Risk Mgmt. Alternatives, Inc., No. 02-cv-6886, 2003 WL 22175390, at
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       *5 (N.D. Ill. Sept. 19, 2003) (certifying class where “the central factual inquiry will be

       common to all” the class members); Kremnitzer v. Cabrera & Rephen, P. C., 202 F.R.D.

       239, 242 (N.D. Ill. 2001) (finding predominance met where liability is predicated on the

       same legal theory and the same alleged misconduct). Class certification is proper even if

       there may be some possibility that “separate proceedings of some character will be required

       to determine the entitlements of the individual class members to relief” Carnegie v.

       HouseholdInt’I Inc., 376 F.3d 656, 661 (7th Cir. 2004).

              In class actions, courts have frequently found that common legal and factual issues

       predominate if the class members’ claims arise from a common course of conduct

       involving a defendant who “is alleged to have acted wrongfully in the same basic manner

       towards an entire class.” Randolph v. Crown Asset Mgmt., LLC, 254 F.R.D. 513, 520 (N.D.

       Ill. Dec. 11, 2008);     Tylka v. Gerber Prods. Co., 178 F.R.D. 493, 498-99 (N.D. Ill.

       March 3, 1998) (“class members were subject to standardized conduct”).

              Here, the claims of the Class and Subclass members arise out of the same activity

       by Defendant, are based on the same legal theory, and implicate the following common

       issues: whether Defendant engaged in the unlawful conduct alleged herein; whether




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       Defendant’s Joy-Con Controller is defective; whether Defendant knew of the Joystick

       Defect when marketing the product to consumers; whether Defendant knowingly failed to
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       disclose the Joystick Defect and the cause of the defect; whether Defendant’s conduct

       violated the Illinois Consumer Fraud Act and other such similar statutes; whether as a result
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       of Defendant’s nondisclosure of material facts, and loss of functionality of its Controllers,
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       Plaintiff and the other members of the Class and Subclass have suffered ascertainable
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<      monetary losses; whether Plaintiff and the other members of the Class and Subclass are
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       entitled to monetary, restitutionary or other remedies, and, if so, the nature of such

       remedies; and whether Defendant should be enjoined from continuing to engage in such

       conduct. (Compl., ^ 40.)

               As alleged, and as will be shown through obtainable evidence. Defendant engaged

       in a common course of conduct by making false and misleading claims about the

       functionality of its Nintendo Switch products. See Tylka v. Gerber Prod. Co., 178 F.R.D.

       493, 496-98 (N.D. Ill. 1998) (finding commonality and predominance satisfied where the

       defendant engaged in a common course of conduct by misrepresenting the contents of its

       baby food products). Any potential individualized issues remaining after common issues

       are decided would be de minimis.         Accordingly, common issues of fact and law

       predominate over any individual issues, and Plaintiff has satisfied this hurdle to

       certification.

               C.       Adequate Representation.

               The third prong of Section 2-801 requires that “[t]he representative parties will

       fairly and adequately protect the interest of the class.” 735 ILCS 5/2-801(3). The class

       representative’s interests must be generally aligned with those of the class members, and




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       class counsel must be “qualified, experienced and generally able to conduct the proposed

       litigation.” See Miner, 428 N.E.2d at 482; see also Eshaghi v. Hanley Dawson Cadillac
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       Co., Inc., 574 N.E.2d 760, 763 (Ill. App. Ct. 1991). The purpose of this adequacy of
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5      representation requirement is “to insure that all Class members will receive proper.
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       efficient, and appropriate protection of their interests in the presentation of the claim.”
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§      Purcell & Wardrope Chid. v. Hertz Corp., 530 N.E.2d 994, 1000 (Ill. App. Ct. 1988);
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<      Gordon, 586 N.E.2d at 466.
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u.            In this case. Plaintiff has the same interests as the members of the proposed Class

       and Subclass. Plaintiff, like all of the other members of the Class and Subclass, purchased

       Defendant’s Nintendo Switch product and has incurred damages as a result. Further,

       proposed class counsel has regularly engaged in major complex and class action litigation.

       and has extensive experience in consumer class action lawsuits, including suits alleging

       violations of the ICFA and breach of warranty claims. {See Declaration of Eugene Y.

       Turin, attached hereto, f 5.) Further, Plaintiffs counsel has been appointed as class counsel

       in numerous complex consumer class actions. Id. Accordingly, the proposed class

       representative and proposed class counsel will adequately protect the interests of the

       members of the Class and Subclass, thus satisfying Section 2-801(3).

              D.      Fair and Efficient Adjudication of the Controversy.

              The final requirement for class certification under 5/2-801 is met where “the class

       action is an appropriate method for the fair and efficient adjudication of the controversy.”

       735 ILCS 5/2-801(4). “In applying this prerequisite, a court considers whether a class

       action: (1) can best secure the economies of time, effort and expense, and promote

       uniformity; or (2) accomplish the other ends of equity and justice that class actions seek to




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      obtain.” Gordon, 586 N.E.2d at 467. In practice, a “holding that the first three prerequisites

      of section 2-801 are established makes it evident that the fourth requirement is fulfilled.”
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      Gordon, 586 N.E.2d at 467; Purcell & Wardrope Chtd, 530 N.E.2d at 1001 (“the
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5     predominance of common issues [may] make a class action ... a fair and efficient method
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      to resolve the dispute.”). Because numerosity, commonality and predominance, and
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      adequacy of representation have been satisfied in the instant case, it is “evident” that the
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<     appropriateness requirement is met as well.
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              Other considerations further support certification in this case. A “controlling factor

      in many cases is that the class action is the only practical means for class members to

      receive redress.” Gordon, 586 N.E.2d at 467; Eshaghi, 574 N.E.2d at 766 (“In a large and

      impersonal society, class actions are often the last barricade of consumer protection.”). A

      class action is superior to multiple individual actions “where the costs of litigation are high.

      the likely recovery is limited” and individuals are unlikely to prosecute individual claims

      absent the cost-sharing efficiencies of a class action. Maxwell, 2004 WL 719278, at *6.

      This is especially true in cases involving false advertising and defective technological

      goods such as those at issue here, which involves a significant injury to the public as a

      whole, but also result in many small. Individual claims. Here, absent a class action, most

      members of the Class and Subclass would find the cost of litigating their claims to be

      prohibitive, and multiple individual actions would be judicially inefficient. Maxwell, 2004

      WL 719278, at *6.

             Certification of the proposed Class and Subclass is necessary to ensure that

      Defendant ceases manufacturing and marketing defective products, and to compensate

      those individuals who have suffered damages as a result of purchasing the defective




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        products. Were this case not to proceed on a class-wide basis, it is unlikely that any

        significant number of members of the Class or Subclass would be able to obtain redress,
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        or that Defendant would willingly change its advertising and labeling policies and/or
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        compensate the members of the Class and Subclass for the damages they have already
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        suffered. Thus, proceeding as a class action here is an appropriate method to fairly and
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 s      efficiently adjudicate the controversy.
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 <                                            CONCLUSION
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               For the reasons discussed above, the requirements of 735 ILCS 5/2-801 are

        satisfied. Therefore, Plaintiff respectfully requests that the Court enter an order certifying

        the proposed Class and Subclass, appointing Plaintiff as Class Representative, appointing

        McGuire Law, P.C. as Class Counsel, and awarding such additional relief as the Court

        deems reasonable and just. Alternatively, the Court should defer ruling on this Motion

        pending the completion of appropriate discovery and supplemental briefing.


        Dated: August 16, 2019                        Respectfully submitted,
                                                      ZACHARY VERGARA, individually and
                                                      on behalf of a class of similarly situated
                                                      individuals
                                                      By:     /s/ Eugene Y. Turin________

                                                              One of Plaintiff s Attorneys

        Eugene Turin
        William Kingston
        MCGUIRE LAW, P.C. (Firm ID: 56618)
        55 W. Wacker Drive, 9th FI.
        Chicago, IL 60601
        Tel: (312) 893-7002
        eturin@mcgpc.com
        wkingston@mcgpc.com

        Attorneys for Plaintiff and the proposed Class


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                         CIRCUIT COURT OF COOK COUNTY, ILLINOIS
                         COUNTY DEPARTMENT, CHANCERY DIVISION

O)
O     ZACHARY VERGARA, individually and on                     )
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      Behalf of a class of similarly situated individuals,     )
                                                               )       No. 2019-CH-09511
                                       Plaintiff,              )
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                               V.                              )       Cal. 10
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s     NINTENDO OF AMERICA, INC., a                             )       Hon. Caroline Kate Moreland
i     Washington corporation.                                  )
<                             Defendant.                       )
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                               DECLARATION OF EUGENE Y. TURIN
              I, Eugene Y. Turin, hereby aver, pursuant to 735 ILCS 5/1-109, that I have personal

      knowledge of all matters set forth herein unless otherwise indicated, and would testify

      thereto if called as a witness in this matter.

              1.        I am an adult over the age of 18 and a resident of the State of Illinois.

              2.        I am fully competent to make this Declaration and I do so in support of

      Plaintiffs Motion for Class Certification or. Alternatively, for a Deferred Class

      Certification Ruling Pending Discovery.

              3.        I am an attorney with the law firm McGuire Law, P.C., I am licensed to

      practice law in the State of Illinois, and I am one of the attorneys representing the Plaintiff

      in this matter.

              4.        McGuire Law, P.C. is a litigation firm based in Chicago, Illinois that

      focuses on class action litigation, representing clients in both state and federal trial and

      appellate courts throughout the country.

              5.        The attorneys of McGuire Law, P.C. have regularly engaged in complex

      litigation on behalf of consumers and have extensive experience prosecuting class action




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       lawsuits similar in size and complexity to the instant case. McGuire Law attorneys have

       been appointed as class counsel in numerous complex consumer class actions, and have
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       served as class counsel in many class actions involving claims for false labeling and
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5      advertising, as well as violations of consumer protection laws. See, e.g., Shen et al. v.
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       Distributive Networks, Inc., (N.D. Ill. 2007); McFerren et al v. AT&T Mobility, LLC, (Sup.
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       Ct. Fulton County, Ga. 2008); Gray et al v. Mobile Messenger Americas, Inc. et al., (S.D.
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<      Fla. 2008); Gresham et al. v. Keppler & Associates, LLC et al., (Sup. Ct. Los Angeles
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       County, Cal. 2008); Weinstein et al v. The Timberland Co., etal, (N.D. Ill. 2008); Sims et

       al. V. Cellco Partnership et al., (N.D. Cal. 2009); Van Dyke et al v. Media Breakaway, LLC

       et al, (S.D. Fla. 2009); Paluzzi, et al v. mBlox, Inc., et al, (Cir. Ct. Cook County, Ill.

       2009); Valdez et al v. Sprint Nextel Corporation, (N.D. Cal. 2009); Parone et al. v. m-

       Qube, Inc. et al, (Cir. Ct. Cook County, Ill. 2010); Satterfield et al v. Simon & Schuster,

       (N.D. Cal. 2010); Espinal et al v. Burger King Corporation et al, (S.D. Fla. 2010); Lozano

       V. Twentieth Century Fox, (N.D. Ill. 2011); Williams et al v. Motricity, Inc. et al, (Cir. Ct.

       Cook County, Ill. 2011); Walker et al v. OpenMarket, Inc. et al, (Cir. Ct. Cook County,

       Ill. 2011); Schulken at al. v. Washington Mutual Bank, et al, (N.D. Cal. 2011); In re

       Citibank HELOC Reduction Litigation, (N.D. Cal 2012); Kramer et al v. Autobytel et al.

       (N.D. Cal. 2011); Rojas et al v. Career Education Co., (N.D. Ill. 2012); Ellison et al. v.

       Steven Madden, Ltd. (C.D. Cal. 2013); Robles et al v. Lucky Brand Dungarees, Inc. et al..

       (N.D. Cal. 2013); Pimental et al v. Google, Inc. et al, (N.D. Cal. 2013); In re Jiffy Lube

       Spam Text Litigation, (S.D. Cal. 2013); Lee et al. v. Stonebridge Life Ins. Co. et al, (N.D.

       Cal. 2013); Gomez et al v. Campbell-Ewald Co., (C.D. Cal. 2014); Murray et al. v. Bill Me

       Later, Inc., (N.D. Ill. 2014); Hooker et al v. Sirius XMRadio, Inc. (E.D. Va. 2016); Seal




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      Case: 1:19-cv-06374 Document #: 1-2 Filed: 09/25/19 Page 39 of 45 PageID #:51




        et al. V. RCN Telecom Services, LLC, (Cir. Ct. Cook County, 111. 2017); Manouchehri, et

        al. V. Styles for Less, Inc., et al., (S.D. Cal. 2017); Abramov v. The Home Depot, (N.D. Ill.);
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        Guertin et al v. State ofMichigan, et al, (E.D. Mich.); Romaya et al v. American Honda
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5       Motor Co., Inc., (C.D. Cal.); Serrano v. A&M(2015) LLC, (N.D. Ill.); Flahive v. Inventurus
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        Knowledge Solutions, Inc., (Cit. Ct. Cook County, Ill. 2017); Vergara et al. v. Uber
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s       Technologies, Inc., (N.D. Ill. 2018).
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<              6.      I am a graduate of Loyola University Chicago and Loyola University
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D
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a:      Chicago School of Law. I have been practicing law since 2014 and have been admitted to

        practice in the Illinois Supreme Court and in several federal courts throughout the country.

        including the U.S. District Court for the Northern District of Illinois and the United States

        Court of Appeals for the Seventh Circuit.

                7.     McGuire Law, P.C. has diligently investigated the facts and claims in this

        matter and will continue to diligently investigate and prosecute this matter. McGuire Law,

        P.C. has also dedicated substantial resources to this matter and will continue to do so.

        McGuire Law, P.C. has the financial resources necessary to fully prosecute this action

        through trial and to provide the necessary and appropriate notice to the class members

        should this proposed class be certified.

               I declare under penalty of perjury that the foregoing is true and correct.

               Executed on August 16, 2019, in Chicago, Illinois.

                                                       /s/ Eugene Y. Turin
                                                       Eugene Y. Turin




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                              Exhibit 4
               Case: 1:19-cv-06374 Document #: 1-2 Filed: 09/25/19 Page 41 of 45 PageID #:53
  Return Date: No return date scheduled
  Hearing Date; 12/16/2019 10:00 AM -10:00 AM
  Courtroom Number:
  Location:                                                                                        FILED
                                                                                                   8/16/2019 4:17 PM
                                   CIRCUIT COURT OF COOK COUNTY, ILLINOIS                          DOROTHY BROWN
                                                                                                   CIRCUIT CLERK
                                   COUNTY DEPARTMENT, CHANCERY DIVISION                            COOK COUNTY, IL
If)
                                                                                                   2019CH09511
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O             ZACHARY VERGARA, individually and on                   )
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              Behalf of a class of similarly situated individuals,   )                             6220297
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                                                                     )     No. 2019-CH-09511
5                                            Plaintiff,              )
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                                     V.                              )     Cal. 10
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              NINTENDO OF AMERICA, INC., a                           )     Hon. Caroline Kate Moreland
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              Washington corporation.                                )
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<                                     Defendant.                     )
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                                                   NOTICE OF MOTION

              To:

              NINTENDO OF AMERICA, INC.
              do CT Corporation System
              208 S. LaSalle St., Suite 814
              Chicago IL 60604

                      On December 16, 2019 at 10:00 a.m. or as soon thereafter as counsel may be heard, I shall

              appear before the Honorable Caroline Kate Moreland or any Judge sitting in that Judge’s stead, in

              courtroom 2302, located at the Richard J. Daley Center, 50 W. Washington St., Chicago, Illinois

              60602, and present Plaintiff’s Motionfor Class Certification or, Alternatively, for a Deferred Class

              Certification Ruling Pending Discovery.


              Name:          McGuire Law, P.C.                             Attorney for: Plaintiff
              Address:       55 W.WackerDr.,9thFl.                         City:         Chicago, IL 60601
              Telephone:     (312)893-7002                                 Firm ID.:     56618




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      •?   V:.-
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                   Case: 1:19-cv-06374 Document #: 1-2 Filed: 09/25/19 Page 42 of 45 PageID #:54




                                                   CERTIFICATE OF SERVICE

                         The undersigned, an attorney, hereby certifies that on August 19, 2019, a copy of Plaintiff s
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                  Motion for Class Certification or, Alternatively, for a Deferred Class Certification Ruling Pending
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s                 Discovery was sent to Defendant’s Registered Agent by way of first class mail by depositing the same
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                  in a United States Mailbox.
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Q                                                                              /s/ Eugene Y. Turin
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                                                                               Eugene Y. Turin, Esq.




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Case: 1:19-cv-06374 Document #: 1-2 Filed: 09/25/19 Page 43 of 45 PageID #:55




                              Exhibit 5
9/25/2019     Case:     1:19-cv-06374 Document #: 1-2 Filed: 09/25/19 Page 44 of 45 PageID #:56
               https://courtlink.lexisnexis.com/cookcounty/FindDock.aspx?NCase=2019-CH-09511&SearchType=0&Database=3&case_no=&PLtype=1…




                                     Case Information Summary for Case Number
                                                   2019-CH-09511

             Filing Date: 08/16/2019                                                Case Type: CLASS ACTION
             Division: Chancery Division                                            District: First Municipal
             Ad Damnum: $0.00                                                       Calendar: 10
                                                       Party Information

             Plaintiff(s)                                                           Attorney(s)
             VERGARA ZACHARY                                                        MCGUIRE LAW P C
                                                                                    55 W WACKER 9TH FL
                                                                                    CHICAGO IL, 60601
                                                                                    (312) 893-7002
             Defendant(s)         Defendant Date of Service                         Attorney(s)
             NINTENDO OF AMERICA,
             INC.

                                                          Case Activity

             Activity Date: 08/16/2019                                          Participant: VERGARA       ZACHARY
                                CLASS ACTION COMPLAINT FILED (JURY DEMAND)
                        Court Fee: 600.50                                      Attorney: MCGUIRE LAW P C


             Activity Date: 08/16/2019                                                                        Participant:

                                  MOTION SCHEDULED (MOTION COUNTER ONLY)
                             Date: 12/16/2019
                                                                               Attorney: MCGUIRE LAW P C
                       Court Time: 1000


             Activity Date: 08/16/2019                                          Participant: VERGARA       ZACHARY
                                  ***CERTIFY CLASS(SET FOR MOTION HEARING)
                                                                               Attorney: MCGUIRE LAW P C


             Activity Date: 08/16/2019                                          Participant: VERGARA       ZACHARY
                                          SUMMONS ISSUED AND RETURNABLE
                                                                               Attorney: MCGUIRE LAW P C
https://courtlink.lexisnexis.com/cookcounty/FindDock.aspx?NCase=2019-CH-09511&SearchType=0&Database=3&case_no=&PLtype=1&sname=&CD… 1/2
9/25/2019     Case:     1:19-cv-06374 Document #: 1-2 Filed: 09/25/19 Page 45 of 45 PageID #:57
               https://courtlink.lexisnexis.com/cookcounty/FindDock.aspx?NCase=2019-CH-09511&SearchType=0&Database=3&case_no=&PLtype=1…



             Activity Date: 08/16/2019                                          Participant: VERGARA       ZACHARY
                                                 NOTICE OF MOTION FILED
                                                                               Attorney: MCGUIRE LAW P C


             Activity Date: 08/16/2019                                          Participant: VERGARA       ZACHARY
                                       CASE SET ON CASE MANAGEMENT CALL
                             Date: 12/16/2019                                     Judge: MORELAND, CAROLINE
                       Court Time: 1000                                                  KATE
                      Court Room: 2302                                         Attorney: MCGUIRE LAW P C


                                                                                                        Back to Top


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                  Circuit Court of Cook County warrants the accuracy, completeness, or the currency
                   of this data. This data is not an official record of the Court or the Clerk and may
                                      not be represented as an official court record.

                  If data does not appear in a specific field, we likely do not have the responsive data
                                                 in our master database.




https://courtlink.lexisnexis.com/cookcounty/FindDock.aspx?NCase=2019-CH-09511&SearchType=0&Database=3&case_no=&PLtype=1&sname=&CD… 2/2
